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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON

 D. JEANETTE FINICUM; THARA
                                             Case No. 2:18-CV-00160-SU
 TENNEY; TIERRA COLIER; ROBERT
 FINICUM; TAWNY CRANE; ARIANNA
                                             PLAINTIFFS’ RESPONSE TO
 BROWN; BRITTNEY BECK; MITCH
 FINICUM; THOMAS KINNE; CHALLICE             THIS COURT’S ORDER TO
 FINCH; JAMES FINICUM; DANIELLE              SHOW CAUSE
 FINICUM; TEAN FINICUM and the
 ESTATE OF ROBERT LAVOY FINICUM
                      Plaintiffs,
             Case 2:18-cv-00160-MO       Document 201        Filed 11/19/21     Page 2 of 4




         v.
   BUREAU OF LAND MANAGEMENT;
   DANIEL P. LOVE; SALVATORE
   LAURO; W. JOSEPH ASTARITA;
   SPECIAL AGENT BM; MICHAEL
   FERRARI; STATE OF OREGON;
   OREGON STATE POLICE; KATHERINE
   BROWN; HARNEY COUNTY; CENTER
   FOR BIOLOGICAL DIVERSITY, and the
   UNITED STATES

                        Defendants.



         Now come the Plaintiffs, by and through their counsel, respectfully request that this

Court render its Order to Show Cause, signed on 11/17/2021, moot. Plaintiffs present the

following:

         1) This response complies with Local Rule 41-2(a), as Plaintiffs are appearing, in writing,

within the ten-day constraint that this Court mandated;

         2) Plaintiffs filed a motion for leave to amend;

         3) Plaintiffs filed an amended complaint pursuant to Fed. R. Civ. P. 15(a)(1);

         4) Defendants are aware of both, the motion to amend and the amended complaint, as

they have seen the amended complaint and commented on it per the conferral requirement under

LR- 7-1;

         5) The causes of action are pleaded anew, per this Court’s comments;

         6) And, the new cause of action, i.e. R.I.C.O. claim, ties all prior causes of action

together, bringing all Defendants, dismissed and current, before this Court for adjudication of

liability.
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DATED: November 19, 2021



                                   /s/ J. Morgan Philpot
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                                   /s/John M. Pierce
                                   John M. Pierce, Esq.
                                   (PHV Admission Forthcoming)

                                   /s/Ryan Joseph-Gene Marshall
                                   Ryan Joseph-Gene Marshall, Esq.
                                   (PHV Admission Pending)

                                   Attorney for Plaintiffs
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                               CERTIFICATE OF SERVICE

I, Morgan Philpot, hereby certify that on this day, November 19, 2021, 2021, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.


                                                                  /s/ J. Morgan Philpot
                                                                  J. Morgan Philpot
